Case 2:04-cV-02222-.]DB-STA Document 17 Filed 06/06/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUH ~5 pH 3: 15

WESTERN DIVISION
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case us 0
MARILE BRISCo, wm §f= ~r'£~;,' BYT;~§:§

Plaintiff,

vs. No. 04-2222-B/An

CCL CUSTOM MANUFACTURING, INC.,

Defendant.

ORDER OF REFERENCE

Before the Court is the Unopposed Motion to Extend Discovery Deadline and

Reset Trial filed on May 27, 2005.
The above action is hereby referred to the Honorable S. Thornas Anderson, U.S.

Magistrate Judge, for the purpose of conducting a scheduling conference

IT IS SO ORDERED.

 

. DANIEL BREEN
IT STATES DISTRICT JUDGE
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This notice confirms a copy of the document docketed as number 17 in
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Honorable J. Breen
US DISTRICT COURT

